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 Attorneys for BrunoBuilt, Inc.


                     IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF IDAHO

 In re:                                               Case No. 19-01069-JMM

 WILLIAM E. DEMPSEY, II and                           Chapter 11
 AMY D. DEMPSEY,

                        Debtors.

              BRUNOBUILT, INC.’S OBJECTION TO DEBTORS’ CLAIM
                       OF A HOMESTEAD EXEMPTION

                Notice of Motion and Opportunity to Object and for a Hearing

 No Objection. The Court may consider this request for an order without further notice or
 hearing unless a party in interest files an objection within 14 days of the date of service of
 this notice.

 If an objection is not filed within the time permitted, the Court may consider that there is no
 opposition to the granting of the requested relief and may grant the relief without further
 notice or hearing.

 Objection. Any objection shall set out the legal and/or factual bases for the objection. A
 copy of the objection shall be served on the movant.

 Hearing on Objection. The objecting party shall also contact the Court’s calendar clerk to
 schedule a hearing on the objection and file a separate notice of hearing.




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        NOW COMES BrunoBuilt, Inc. (“BrunoBuilt”), by and through its attorneys of record,

 and represents as follows for this, its objections to Debtors’ Claim of a Homestead Exemption:

        1.      In their schedule of assets, Debtors claim a homestead exemption in the full

 amount of $100,000 as to their residence, 1720 E. Sendero Lane (the “Residence”). Docket no.

 20 at 15.

        2.      In their schedule of liabilities, on the other hand, Debtors contend that there are

 two deeds of trust against the Residence, and that the junior creditor is undersecured. Docket no.

 20 at 22.

        3.      Obviously, these two contentions are inconsistent with one another. Debtors

 cannot have it both ways. Debtors’ claim of a $100,000 homestead exemption is in bad faith.

        WHEREFORE, for the reasons set forth above, BrunoBuilt prays that the Court disallow

 Debtors’ claim of an exemption in their Residence.

        DATED this 26th day of February, 2020.

                                               HOLLAND & HART LLP


                                               By /s/ Robert A. Faucher
                                                  Robert A. Faucher, of the firm
                                                  Attorneys for BrunoBuilt, Inc.




 BRUNOBUILT, INC.’S OBJECTION TO DEBTORS’ CLAIM OF A HOMESTEAD EXEMPTION - 2
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 26th day of February, 2020, I filed the foregoing
 electronically through the CM/ECF system, which caused the following parties or counsel to be
 served by electronic means, as more fully reflected on the Notice of Electronic Filing:

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 BRUNOBUILT, INC.’S OBJECTION TO DEBTORS’ CLAIM OF A HOMESTEAD EXEMPTION - 3
